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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    Plaintiffs
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Patagonia, Inc. and                                                           CASE NUMBER:

Patagonia Provisions, Inc.,                                                                          2:19-cv-02702
                                                              Plaintiff(s),
                                     v.

                                                                                             CERTIFICATION AND NOTICE
Anheuser-Busch, LLC
                                                                                               OF INTERESTED PARTIES
d/b/a Patagonia Brewing Co.,                                                                       (Local Rule 7.1-1)
                                                             Defendant(s)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                Plaintiffs Patagonia, Inc. and Patagonia Provisions, Inc.,
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                                  PARTY                                                CONNECTION / INTEREST

                Patagonia, Inc.                                                                 Plaintiff

                Patagonia Provisions, Inc.                                                      Plaintiff




         April 9, 2019                                     /s/ Gregory S. Gilchrist
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiffs Patagonia, Inc. and Patagonia Provisions, Inc.


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
